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      IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF NEW JERSEY
               TRENTON VICINAGE


 The Doris Behr 2012 Irrevocable
 Trust,

                      Plaintiff,                Case No. 3:19-cv-8828-MAS-LHG
 v.

 Johnson & Johnson,

                      Defendant.


 PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE WHY
       THE COURT SHOULD NOT STAY THIS CASE
      On December 20, 2019, this Court ordered the parties to show cause why the

 case should not be stayed pending the Delaware Supreme Court’s disposition of
 Salzberg v. Sciabacucci, No. 346,2019. The plaintiff believes that a stay of proceedings

 is appropriate in light of the Delaware Supreme Court’s pending decision in Sciaba-

 cucci, given that the defendant relies extensively on the Delaware Court of Chan-
 cery’s opinion in that case. The plaintiff respectfully asks the Court to stay the pro-

 ceedings in this case pending the Delaware Supreme Court’s resolution.




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                                        Respectfully submitted.

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 Dated: January 1, 2020                 Counsel for Plaintiff




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                      CERTIFICATE OF SERVICE
    I certify that on January 1, 2020, I served this document by CM/ECF upon:


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 Counsel for the Defendant




                                       /s/ Walter S. Zimolong
                                       Walter S. Zimolong
                                       Counsel for Plaintiff




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